                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA

                 UNITED STATES OF AMERICA v. JAFARI LEWIS-DANIEL

                               Case No. 3:16-cr-00016-02-TMB


By:                   THE HONORABLE TIMOTHY M. BURGESS


PROCEEDINGS:          ORDER FROM CHAMBERS

       Having reviewed Magistrate Judge McCoy’s Final Report and Recommendation (Docket
No. 58) on Defendant’s Motion to Suppress (Docket No. 39), in conjunction with the Plaintiff’s
Response (Docket No. 49) and no Objections filed, the Court hereby adopts and accepts the Final
Report and Recommendation in its entirety. Consequently, Defendant’s Motion to Suppress,
(Docket No. 39), is DENIED.

       IT IS SO ORDERED.




Entered at the direction of the Honorable Timothy M. Burgess, United States District Judge.


DATE: August 9, 2016.




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